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EXHIBIT F
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A Professional Corporation

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July 26, 2011

VIA ELECTRONIC MAIL AND
CMRR# 91 7108 2133 3935 4451 3512

Mr. Christopher J. Esbrook
Kirkland & Ellis LLP

300 North LaSalle Street
Chicago, Illinois 60654

Re: — Personal Injury Claims file by Halliburton Employees With the Gulf Coast Claims
Facility

Dear Mr. Esbrook:

We are in receipt of your letter dated July 7, 2011. Your letter requests that Halliburton
agree to indemnify BP Exploration and Production, Inc. ("BP") against Christopher Haire's
personal injury claim filed with the Gulf Coast Claims Facility or, in the alternative, that
Halliburton undertake to settle Mr. Haire's claim. The basis for BP's request is the April 15,
2009 Contract for Gulf of Mexico Strategic Performance Unit Offshore Well Services (the
"Contract").

As I am sure you are aware, the indemnity obligations between Halliburton and BP
arising under the Contract are the subject of current litigation between the parties. Immediately
following the Deepwater Horizon incident, Halliburton stood ready to meet its indemnity
obligations under the Contract, and informed BP of its willingness to do so. Since that time,
however, BP has constantly and consistently refused to abide by its contractual indemnity
obligations to Halliburton. Halliburton views BP's refusal to meet its contractual indemnity
obligations as a prior breach of the material terms of the contract, relieving Halliburton of any
indemnity obligation it might have had to BP.

Therefore, as a result of BP's failures to meet its contractual indemnity obligations,
Halliburton declines BP's request to indemnify it for any settlement related to Mr. Haire's claim.
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Mr. Christopher J. Esbrook
July 26, 2011
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Please do not hesitate to contact me if you have any questions.

Sincerely,

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Donald E. Godwin
DEG:fmh

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